 4:08-cr-03022-RGK-DLP            Doc # 92      Filed: 03/05/09      Page 1 of 7 - Page ID # 246


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 4:08cr3022-002
                                                        USM Number 22437-047

TABATHA ADAMS
                        Defendant
                                                        GREGORY C. DAMMAN
                                                        Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                      (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Indictment on 11/5/08.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                             Date Offense               Count
          Title, Section & Nature of Offense                  Concluded               Number(s)


 18:2251(a) and 2 PRODUCTION OF CHILD                    October 21, 2007                   I
 PORNOGRAPHY; AIDING & ABETTING

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count II of the Indictment is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                      March 3, 2009

                                                                         s/ Richard G. Kopf
                                                                         United States District Judge

                                                                                March 5, 2009
 4:08-cr-03022-RGK-DLP            Doc # 92      Filed: 03/05/09     Page 2 of 7 - Page ID # 247


Defendant: TABATHA ADAMS                                                                    Page 2 of 7
Case Number: 4:08cr3022-002


                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of three hundred sixty (360) months. This sentence shall run concurrent
with the sentence imposed in Case No. 07CR642 in Ford County, Kansas, District Court, as more
specifically described in Paragraph 40 of the Presentence Report.


The Court makes the following recommendations to the Bureau of Prisons:

         1.       The Court recommends that no credit for time previously served in state custody be
                  given to the defendant. That is, the concurrent nature of this federal sentence
                  begins to run on March 3, 2009 and not before.


The defendant is remanded to the custody of the United States Marshal.


                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                               _____________________________
                                                                       Signature of Defendant

                                              RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                        __________________________________
                                                               UNITED STATES WARDEN

                                                     By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.


                                           CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                     By:__________________________________
 4:08-cr-03022-RGK-DLP              Doc # 92     Filed: 03/05/09      Page 3 of 7 - Page ID # 248


Defendant: TABATHA ADAMS                                                                        Page 3 of 7
Case Number: 4:08cr3022-002


                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of life.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                              STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.
 4:08-cr-03022-RGK-DLP            Doc # 92      Filed: 03/05/09     Page 4 of 7 - Page ID # 249


Defendant: TABATHA ADAMS                                                                      Page 4 of 7
Case Number: 4:08cr3022-002


                              SPECIAL CONDITIONS OF SUPERVISION


1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer,
         pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the
         Justice for All Act of 2004), if such sample was not collected during imprisonment.

2.       Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely
         refraining from excessive use of alcohol, the defendant shall not purchase or possess, use,
         distribute, or administer any alcohol, just the same as any other narcotic or controlled
         substance.

3.       The defendant shall submit his or her person, residence, office, or vehicle to a search
         conducted by a United States Probation Officer at any time; failure to submit to a search
         may be grounds for revocation; the defendant shall warn any other residents that the
         premises may be subject to searches pursuant to this condition.

4.       The defendant shall attend, pay for and successfully complete any diagnostic evaluations,
         treatment or counseling programs, or approved support groups (e.g., AA/NA) for alcohol
         abuse, as directed by the probation officer.

5.       The defendant shall have no contact with their victim(s), including correspondence,
         telephone, or communication through third parties, except under circumstances approved
         in advance and in writing by the probation officer. The defendant shall not enter onto the
         premises, travel past, or loiter near the victim’s residence, school, place of employment, or
         other places frequented by the victim.

6.       The defendant shall have no contact, nor reside with children under the age of 18, including
         their own children, unless approved in advance and in writing by the probation officer in
         consultation with the treatment providers. The defendant must report all incidental contact
         with children to the probation officer and the treatment provider.

7.       The defendant shall not access or come within 500 feet of schools, school yards, parks,
         arcades, playgrounds, amusement parks, or other places used primarily by children under
         the age of 18 unless approved in advance and in writing by the probation officer.

8.       The defendant shall not be employed in or participate in any volunteer activity that involves
         contact with children under the age of 18, except under circumstances approved in advance
         and in writing by the probation officer.

9.       The defendant shall not access, view or possess any pornographic sexually oriented or
         sexually stimulating materials, including visual , auditory, telephonic, or electronic media,
         computer programs or services. The defendant shall not patronize any place where such
         material or entertainment is available.

10.      The defendant must have her residence and living situation approved in advance by the
         probation officer.

11.      The defendant shall sign releases of information to allow all involved in the assessment,
         treatment, and behavioral monitoring of the defendant to communicate and share
         documentation with each other.

12.      The defendant shall register as a sex offender in accordance with state and federal law and
 4:08-cr-03022-RGK-DLP            Doc # 92      Filed: 03/05/09      Page 5 of 7 - Page ID # 250


Defendant: TABATHA ADAMS                                                                       Page 5 of 7
Case Number: 4:08cr3022-002


         in their county of residence. The defendant shall not move to a different address without
         prior approval of the probation officer.

13.      The defendant shall successfully complete any sex offender diagnostic evaluations,
         treatment or counseling programs, and polygraph examinations as directed by the probation
         officer. Reports pertaining to sex offender assessments, treatments, and polygraph
         examinations shall be provided to the probation officer. Based on the defendant’s ability to
         pay, the defendant shall pay the cost of diagnostic evaluations, treatment or counseling
         programs, and polygraph examinations in an amount determined by the probation officer.

14.      The offender shall submit/consent to quarterly monitoring of all electronic media as directed
         by the USPO with or without the cooperation of law enforcement.

15.      The defendant is prohibited from using or having access to any electronic media that has
         internet service or photography capability. The defendant will sign any and all releases of
         information as it relates to cell phone carriers.

16.      The defendant shall participate in a victim awareness program as directed by the probation
         officer. Based on the defendant’s ability to pay, the defendant shall pay for the costs of the
         program in an amount determined by the probation officer.

17.      The defendant shall attend, successfully complete, and pay for any mental health diagnostic
         evaluations and treatment or counseling programs as directed by the probation officer.

18.      The defendant shall provide the probation officer with access to any requested financial
         information.

19.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of
         release on supervised release and at least two (2) periodic drug tests thereafter, is
         suspended until further order of the Court because the Presentence Investigation Report
         on the defendant and other reliable sentencing information indicates a low risk of future
         substance abuse by the defendant.

20.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
         District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall
         North, 530 U.S. Courthouse, Lincoln, Nebraska, (402) 437-1920, within seventy-two (72)
         hours of release from confinement and, thereafter, as directed by the probation officer.
 4:08-cr-03022-RGK-DLP           Doc # 92    Filed: 03/05/09     Page 6 of 7 - Page ID # 251


Defendant: TABATHA ADAMS                                                                 Page 6 of 7
Case Number: 4:08cr3022-002


                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                     Total Fine                 Total Restitution
              $100.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.



                                              FINE

         No fine imposed.



                                        RESTITUTION

         No restitution was ordered.
 4:08-cr-03022-RGK-DLP              Doc # 92        Filed: 03/05/09   Page 7 of 7 - Page ID # 252


Defendant: TABATHA ADAMS                                                                     Page 7 of 7
Case Number: 4:08cr3022-002


                                     SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated
to pay said sum immediately if he or she has the capacity to do so. The United States of America
may institute civil collection proceedings at any time to satisfy all or any portion of the criminal
monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the defendant shall pay 50% of the available inmate institutional funds per quarter towards the
criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.
OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
